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February 11, 2019                                                                                            Lori A. Martin

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Hon. P. Kevin Castel
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: Cunningham v. Cornell University, No. 16-cv-06525-PKC-JLC (S.D.N.Y.)

Request to Maintain Sealing of Exhibits 68 and 109 to the Declaration of
Samuel P. Myler in Support of the Cornell Defendants' Motion for Summary Judgment

To the Honorable Judge Castel:

Pursuant to Section 4 of the Court's Individual Practices and the Court's January 28, 2019 Order
(ECF No. 244) (the "Order"), non-party Teachers Insurance and Annuity Association of America
("TIAA'') writes to request that the Court permit the Cornell Defendants 1 to maintain under seal
Exhibits 68 and 109 to the Declaration of Samuel P. Myler in support of their Motion for
Summary Judgment (ECF Nos. 239-9, 249-21). The documents that are the subject of this letter
are documents produced by TIAA and contain confidential pricing information regarding
TIAA's clients. The public disclosure of these documents would harm TIAA's competitive
standing. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 100, 120 (2d Cir. 2006) (courts
must weigh "countervailing factors" to determine whether the presumption of public access to
judicial documents is overcome).

                                                     BACKGROUND

TIAA is a non-party to this action and acts as a recordkeeper for the two Cornell retirement plans
that are the subject of this litigation. 2 TIAA produced documents in response to a subpoena from
Plaintiffs and requests from the Cornell Defendants and designated some of those documents as
Confidential in accordance with the Confidentiality Stipulation and Order for this action (ECF
No. 131).


     The Cornell Defendants are Cornell University, the Retirement Plan Oversight
Committee and Mary G. Opperman.
2      The plans for which TIAA provides recordkeeping services are the Cornell University
Retirement Plan for Employees of the Endowed Colleges at Ithaca and the Cornell University
                                                         1
Tax-Deferred Annuity Plan (the "Cornell Plans").


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On January 25, 2019, the Cornell Defendants filed a Motion for Summary Judgment (ECF No.
231) and two motions in limine (ECF Nos. 225, 228). In support of the Motion for Summary
Judgment, the Cornell Defendants submitted five exhibits that include information designated as
Confidential by TIAA: Exhibits 29, 65, 68, 109 and 112 to the Declaration of Samuel P. Myler
(ECF No. 250). In support of the Motion to Exclude Plaintiffs' Experts Ty Minnich and Al Otto
(ECF No. 228) (the "Daubert Motion"), the Cornell Defendants filed one exhibit that contains
corporate testimony designated as Confidential by TIAA: Exhibit B to the declaration of Brian
D. Netter (ECF No. 229). In its January 28 Order, the Court granted the Cornell Defendants'
request to seal provisionally these and other exhibits that contain information designated as
Confidential by parties or non-parties. Pursuant to the Order, unredacted versions of those
documents shall be filed publicly unless a paiiy shows cause why the continued sealing of an
exhibit is justified under Lugosch.

                                         ARGUMENT

Documents submitted to a court in support of a motion for summary judgment are "judicial
documents to which a presumption of immediate public access attaches under both the common
law and the First Amendment." Lugosch, 435 F.3d at 126. Those presumptions, however, can
be overcome by "countervailing factors." Id at 120, 124. These countervailing factors include
(i) the "the privacy interests of those resisting disclosure," United States v. Amodeo, 71 F.3d
1044, 1050 (2d Cir. 1995); and (ii) whether the documents contain "business information that
might harm a litigant's competitive standing," Nixon v. Warner Commc 'ns, Inc., 435 U.S. 589,
598 (1978).

TIAA has reviewed the six provisionally-sealed exhibits that contain information designated as
Confidential. TIAA does not oppose the unsealing of Exhibits 29, 65 and 112 to the Cornell
Defendants' Motion for Summary Judgment or of Exhibit B to the Daubert Motion. 3 TIAA,
however, moves to maintain the sealing of Exhibits 68 and 109 to the Cornell Defendants'
Motion for Summary Judgment.

Exhibits 68 and 109 contain sensitive information about the recordkeeping fees paid by TIAA' s
200 largest clients. 4 Exhibit 109 is a declaration by a TIAA employee that provides, for each
year from 2011 through 2017: (i) the percentile for the recordkeeping fee paid by the Cornell

3     With the passage of time, the pricing and other sensitive information contained in those
documents is no longer cmTent.
4
       As explained in paragraph 3 of Exhibit 109, the two exhibits compare Cornell's
recordkeeping fees to the fees paid by institutions among TIAA's 200 largest clients with at least
one 403(b) plan that had an agreed-upon plan price.
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Plans as compared to the relevant institutions among TIAA's 200 largest clients; (ii) the 25th,
50th and 75th percentiles for the recordkeeping fees paid by the relevant institutions among
TIAA's 200 largest clients; and (iii) the Cornell Plans' rank in size compared to TIAA's 200
largest clients, based on assets under administration and unique participants. Exhibit 68 contains
the same information but omits the size ranking.

The pricing data contained in Exhibits 68 and 109 is highly confidential and sensitive
inf01mation which, if made public, is likely to harm TIAA' s competitive standing. See
Declaration of Douglas Chittenden, dated February 11, 2019 ("Chittenden Deel."), ,r 3. TIAA
competes with other 403(b) recordkeepers. Id. ,r 4. TIAA carefully maintains the confidentiality
of its pricing data and does not share with clients current recordkeeping fees paid by other
institutions across its client base. 5 Id. ,r 5. TIAA's competitors may use the pricing information
to seek to win business from prospective clients or to undercut TIAA' s recordkeeping
arrangements with existing clients. Id. ,r 6. Since TIAA does not know current or historical
pricing for its competitors' client bases-most notably, percentile breakouts across a broad set of
competitors' largest clients-TIAA would be at a significant competitive disadvantage. Id.
Additionally, current clients and their consultants may seek to use this data to renegotiate pricing
arrangements, even if the economics of the client's plan do not warrant a lower price. Id. ,r 7.

The pricing information contained in Exhibits 68 and 109 is particularly sensitive because it
extends through 2017. TIAA typically negotiates recordkeeping fees for multi-year
arrangements; often for three or more years. For this reason, the pricing data for years 2015,
2016 and 2017 is current for several TIAA clients. Id. ,r 8.

Applications of the Lugosch standard recognize the sensitivity of competitive pricing data and
permit the sealing of such information. For example, in Skyline Steel, LLC v. PilePro, LLC, the
Court held that the plaintiff had "shown a sufficient basis to justify filing the exhibits" under seal
because they consisted of "'highly confidential sales information, including pricing information,'
which is not available to the public." 101 F. Supp. 3d 394,412 (S.D.N.Y. 2015) (emphasis
added). Similarly, in In re Digital Music Antitrust Litig., the Court granted a party's request to
redact and seal "certain evidentiary submissions" that "concern[ed] confidential information
relating to competitive pricing data and strategy and ... [were] subject to confidentiality
agreements between Defendants and innocent non-parties." 321 F.R.D. 64, 81 n.l (S.D.N.Y.
2017) (emphasis added). Cf GoSMiLE, Inc. v. Levine, 769 F. Supp. 2d 630, 649-50 (S.D.N.Y.
2011) (granting defendants' request to seal three exhibits that contained "highly proprietary

5
       TIAA may in some instances share with clients anonymized pricing information about a
small subset of clients with similar plan characteristics. It does not, however, share the kind of
broad-based pricing data provided in Exhibits 68 and 109. Chittenden Deel. ,r 5.
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material concerning the defendants' marketing strategies, product development, costs and
budgeting").

Here, Exhibits 68 and 109 contain confidential pricing information that, if made public, would
put TIAA at a significant competitive disadvantage with respect to other recordkeepers. TIAA's
status as a non-party also is entitled to special consideration. In SEC v. Ahmed, for example, a
non-party moved to seal certain documents that contained confidential commercial information
because the informatioJ:1 "would provide competitors 'a free look at what strategies [the non-
party] employs, [] what terms it has agreed to in previous investments,' the opportunity to
'undermine [the non-party's] potential deals,' and insight into [the non-party's] 'inner workings,
including ... pricing information."' No. 3:15-cv-675 (JBA), 2018 WL 4266079, at *3 (D. Conn.
Sept. 6, 2018). The Court granted the sealing request "[b]ecause the 'privacy interests of
innocent third parties ... should weigh heavily in a court's balancing equation' between the
presumption of public access and a request to seal, and because records which would aid
'[c]ommercial competitors seeking an advantage over rivals' are among those documents the
confidentiality of which may outweigh the public;s presumption of access." Id. (quoting
Amodeo, 71 F.3d at 1050). Similarly, in Alexander interactive, Inc. v. Adorama, Inc., the Court
granted a non-party's request to seal a document because the movant was "a non-party to th[e]
litigation" and the document contained "non-public information about pricing, credit, and
termination terms" with the defendant, the non-party's customer-details that "if made public,
could adversely [a]ffect [the non-party's] relationships with other []customers." No. 12 CIV.
6608 PKC JCF, 2014 WL 4346174, at *2 (S.D.N.Y. Sept. 2, 2014).

                                        CONCLUSION

For the foregoing reasons, non-party TIAA respectfully requests that the Court permit the
Cornell Defendants to maintain under seal Exhibits 68 and 109 to Declaration of Samuel P.
Myler in support of their Motion for Summary Judgment.


Respectfully submitted,




Lori A. Martin


cc:    All counsel of record
